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                     IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF KANSAS

ROGER JAMES, individually, and on
behalf of all others similarly situated,

              Plaintiff,

v.                                         Case No. 2:19-CV-02260-DDC-JPO

BOYD GAMING CORPORATION, and
KANSAS STAR CASINO, LLC,

              Defendants.

PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF UNOPPOSED MOTION
     FOR APPROVAL OF FLSA COLLECTIVE ACTION SETTLEMENT
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                                        INTRODUCTION

       Plaintiff Roger James worked for Boyd Gaming Corporation in large part as a table games

dealer (i.e., the casino employees who deal games like blackjack, craps, and roulette) earning a

sub-minimum wage plus tips at Kansas Star Casino near Wichita, Kansas. Plaintiff James asserted

two Fair Labor Standards Act claims that would invalidate Boyd Gaming’s1 entitlement to a tip

credit and, as a result, require Boyd Gaming to pay each worker the difference between their sub-

minimum direct cash wage and $7.25 for each hour worked during the limitations period.

       Following significant litigation spanning nearly three years—including deposing two of

Boyd Gaming’s human resources leaders, producing Plaintiff James for an all-day deposition,

reviewing over 5,000 pages of documents from 13 casino properties, completing Phase I discovery,

briefing and winning conditional certification, conducting the opt-in notice process, and a

mediation to negotiate the claims of the collectives presided over by noted wage and hour mediator

Francis X. Neuner followed by a distinct negotiation to settle Plaintiff’s counsel’s separate

entitlement to attorneys’ fees under the FLSA—Plaintiff James and Boyd Gaming have reached a

non-reversionary collective action settlement that provides near make-whole relief to collective

members. The $1,200,000 common fund represents approximately 88% of claimed tip credit

damages at issue and results in an average per capita settlement check (net of all costs and

expenses) of over $1,300. These are meaningful payments that will be distributed automatically

to collective members upon approval with no claims process and no reversion to Boyd Gaming.



1
  Plaintiff James alleged that Boyd Gaming Corporation was the joint employer of Plaintiff along
with Kansas Star Casino, LLC. See Complaint, Doc. 1 at ¶¶ 38-42. During discovery, Boyd
Gaming stipulated that it would not contest that it jointly employed Plaintiff James under the FLSA
along with all of the workers in the collectives at the 13 casino properties at issue here for purposes
of this case only. James v. Boyd Gaming Corp., 522 F.Supp.3d 892, 921 (D. Kan. 2021) (quoting
the stipulation on joint employment). Plaintiff James refers to Boyd Gaming generally in this brief
as encompassing the Boyd Gaming enterprise spanning the 13 casinos at issue.


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         In addition to the significant relief going to collective members, Boyd Gaming has agreed

to separately pay Plaintiff’s counsel’s attorneys’ fees under the FLSA’s mandatory fee-shifting

provision (see 29 U.S.C. § 216(b)) in the agreed-upon amount of $1,100,000. This figure—

negotiated separate from and in addition to the relief going to collective members—represents a

compromise and considerable discount on Plaintiff’s counsel’s lodestar. This is a further benefit

to the collective members in that their settlement payments are not reduced by a significant

percentage (often upwards of 40+ percent) to compensate Plaintiff’s counsel for their time.

       In exchange for these material settlement payments, collective members will release only

those claims premised on tip pooling and tip credit violations (as opposed to a general release or a

wage and hour release). This is an outstanding result for the employees, which is underscored by

the fact that, as of the date of this filing, no collective member has objected.

       Because the settlement is a fair and reasonable resolution of a bona fide dispute, Plaintiff

James requests the Court approve the parties’ settlement and grant final collective certification.

Plaintiff James further requests the Court appoint Analytics Consulting LLC as the third-party

settlement administrator and to authorize the following awards: (i) Plaintiff’s counsel’s attorneys’

fees in the amount of $1,100,000 to be paid separately by Boyd Gaming; (ii) Plaintiff’s counsel’s

litigation expenses in the amount of $85,000 to be paid from the common fund; (iii) a $5,000

service award to Plaintiff James to be paid from the common fund; and (iv) the $16,436 cost of

settlement administration to be paid to Analytics Consulting LLC from the common fund.




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               FACTUAL BACKGROUND AND PROCEDURAL POSTURE

I.     The Nature of Plaintiff James’ FLSA Claims.

       Plaintiff James filed this lawsuit on May 24, 2019 alleging Defendants Boyd Gaming and

Kansas Star violated the FLSA. Complaint, Doc. 1. Plaintiff brought the action individually and

on behalf of all other similarly situated hourly, non-exempt employees who worked at 13 casinos

operating under Boyd Gaming’s banner. Id. at ¶¶ 43-44.

       A.      Defendants’ failure to provide notice of the FLSA’s tip credit requirements.

       In Count One of the Complaint, Plaintiff James alleged Boyd Gaming and its subsidiary

entities failed to pay him and all other similarly situated employees the federal minimum wage for

each hour worked. Id. at ¶ 19. Specifically, Boyd Gaming paid Plaintiff James and all other

similarly situated employees a direct cash wage less than $7.25 per hour plus tips and then

attempted to claim a tip credit under the FLSA that did not comply with the FLSA’s tip credit

notice requirements. Id. at ¶¶ 17-23.

       The FLSA requires every employer to pay covered employees a minimum hourly wage of

no less than $7.25 per hour. 29 U.S.C. § 206(a)(1)(C). On exception to that bedrock principle is

the “tip credit.” FLSA Section 203(m) allows employers of regularly tipped employees to pay a

sub-minimum base hourly wage and claim a tip credit to make up the difference. 29 U.S.C. §

203(m)(2). “In order to be eligible to take a tip credit, the employer must first notify the employees

of the requirements of the law regarding minimum wages and of the employer’s intention to take

the tip credit.” Porter v. West Side Restaurant, LLC, 2014 WL 1642152, *8 (D. Kan. Apr. 24,

2014) (internal quotations omitted); 29 U.S.C. § 203(m)(2)(A).

       A 2011 Department of Labor regulation specifies the content of the notice an employer

must provide its employees to be eligible to claim the tip credit:




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           Pursuant to section 3(m), an employer is not eligible to take the tip credit
           unless it has informed its tipped employees in advance of the employer's
           use of the tip credit of the provisions of section 3(m) of the Act, i.e.: The
           amount of the cash wage that is to be paid to the tipped employee by the
           employer; the additional amount by which the wages of the tipped employee
           are increased on account of the tip credit claimed by the employer, which
           amount may not exceed the value of the tips actually received by the
           employee; that all tips received by the tipped employee must be retained by
           the employee except for a valid tip pooling arrangement limited to
           employees who customarily and regularly receive tips; and that the tip credit
           shall not apply to any employee who has not been informed of these
           requirements in this section.

29 C.F.R. § 531.59(b); see also 29 C.F.R. § 516.28(a)(3).

       It is not sufficient that employees simply and generally be aware of the FLSA’s tip credit

provisions. Rather, Section 3(m) affirmatively requires employers to inform employees of the

provisions contained in Section 3(m), as more fully described in 29 C.F.R. § 531.59(b). See Acosta

v. Mezcal, Inc., 2019 WL 2550660, at *7-8 (D. Md. June 20, 2019).

       The employer has the burden to prove a valid tip credit notice and compliance with all

FLSA tip credit notice requirements. See, e.g., Porter, 2014 WL 1642152, at *8 (“Defendants bear

the burden of proving that they are entitled to take the tip credit.”); Acosta, 2019 WL 2550660, at

*7 (“the employer bears the burden of demonstrating eligibility for the exception”); Perez v.

Lorraine Enterprises, Inc., 769 F.3d 23, 27 (1st Cir. 2014) (“It is the employer’s burden to show

that it has satisfied all the requirements for tip-credit eligibility”). Failure to do so results in

forfeiture of the tip credit and makes the employer liable for the difference between the direct cash

wage and the federal minimum wage of $7.25 per hour. See, e.g., Garcia v. Palomino, Inc., 738 F.

Supp. 2d 1171, 1177–78 (D. Kan. 2010) (“The employer has the burden of showing that the

exemption is applicable. If it fails to make the requisite showing, the employer is liable for the

difference between the amount it paid to its employees and the applicable minimum wage,




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regardless of whether the employee has received and retained wages and tips that together satisfy

the minimum wage requirement.”).

       B.      Defendants’ illegal tip pooling under the FLSA.

       In Count Two of the Complaint, Plaintiff James alleged that Boyd Gaming maintained

unlawful, mandatory tip pooling arrangements for its table games dealers by (1) failing to limit

participation in the tip pool as required by the FLSA to tipped employees, i.e., “employees who

customarily and regularly receive tips,” and (2) violating the FLSA’s prohibition against an

employer “keep[ing] tips received by its employees for any purposes, including allowing managers

and supervisors to keep any portion of employees’ tips.” Complaint, Doc. 1 at ¶¶ 24-37; see 29

U.S.C. § 203(m)(2)(A-B).

       The Court succinctly described Plaintiff James’ tip pooling claim as follows:

       [P]laintiff alleges defendants’ PTO policy violates the FLSA’s tip pool
       requirements because they distribute tips from the table games dealers’ tip pool to
       Dual-Rate Supervisors as a way of paying for PTO. Dual-Rate Supervisors are non-
       tipped employees who, plaintiff argues, serve in a supervisory capacity. According
       to plaintiff, this violates the FLSA.

       Plaintiff contends defendants don't track separately whether Dual Rate Supervisors
       are accruing PTO hours while working as a supervisor or a dealer. And, plaintiff
       alleges defendants then use money from the dealer tip pool to pay Dual Rate
       Supervisors for the use of PTO accrued while working as a supervisor. This,
       according to plaintiff, violates the FLSA's requirements for limiting the tip pool to
       employees customarily receiving tips and prohibiting supervisors from keeping a
       portion of employees’ tips.

James, 522 F.Supp.3d at 914–15 (internal citations omitted). As the employer, Boyd Gaming bears

the burden to prove it operates a valid tip pooling arrangement and complies with all FLSA tip

pool requirements. See, e.g., Montano v. Montrose Rest. Assocs., Inc., 800 F.3d 186, 189 (5th Cir.

2015) (explaining the employer has “the burden of establishing its entitlement to the tip credit,”

which includes “the burden to prove it operated a legal tip pool”) (internal citations omitted);

Acosta v. Las Margaritas, Inc., 2018 WL 6812370, at *7 (E.D. Pa. Dec. 27, 2018) (same). If a tip


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pool violates the FLSA’s requirements, the employer is ineligible to claim the tip credit and is

liable for the difference between its tipped employees’ sub-minimum base hourly wage and the

federal minimum wage and must reimburse all improperly distributed tips. See 29 U.S.C. § 216(b)

(“Any employer who violates section 203(m)(2)(B) of this title shall be liable to the employee or

employees affected in the amount of the sum of any tip credit taken by the employer and all such

tips unlawfully kept by the employer”).

II.     The Parties Litigated the Case Extensively and Through Phase I.

        This case was heavily litigated for years and myriad issues were contested. The parties

disputed the schedule and how to phase discovery; engaged in significant discovery; fully briefed

a contested conditional certification motion; and ultimately completed the opt-in collective notice

process before agreeing to mediate (a second time). Ricke Decl. at ¶ 2.

        A.     Threshold disputes existed regarding the schedule and joint employment.

        Following the parties’ Rule 26(f) conference, the parties could not agree on a schedule.

Plaintiff James urged the Court to bifurcate discovery with Phase I focused on whether putative

collective members were similarly situated and Phase II focused on the merits, damages, and trial

issues. Boyd Gaming sought to bifurcate discovery with Phase I focused on issues surrounding

conditional certification but, critically, also the question of whether Plaintiff James was jointly

employed by Boyd Gaming—an issue the company vigorously contested. Following a hearing, the

Court ultimately agreed with Boyd Gaming that the joint employer issue should be included in

Phase I of the case and set a deadline to move for summary judgment on the issue. Doc. 15 at 2;

Ricke Decl. at ¶ 3.

        In August and September 2019, Plaintiff James served his first set of interrogatories and

requests for production of documents on Boyd Gaming. These discovery requests specifically

targeted the joint employer issue given its inclusion in Phase I (among other issues). Following


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issuance of this discovery, the parties entered into a stipulation in October 2019 whereby Boyd

Gaming agreed not to contest its joint employer status for purposes of this case (though, as a

general proposition, the company continues to dispute that it is Plaintiff’s employer). This obviated

the need for further joint employer discovery and removed a potential obstacle to conditional

certification (i.e., Plaintiff James no longer needed to prove Boyd Gaming employed the workers

at each of the 13 casinos as a threshold predicate to conditional certification). Ricke Decl. at ¶ 4.

       B.      The parties conducted significant discovery.

       Discovery in this case lasted from approximately August 2019 until June 2020. During

that time, the parties completed Phase I discovery on whether the proposed FLSA collectives were

similarly situated. Ricke Decl. at ¶ 5.

       Plaintiff James served three sets of interrogatories, three sets of requests for production of

documents, and one set of requests for admission on Boyd Gaming. In addition to providing written

responses to Plaintiff’s discovery requests, Boyd Gaming produced over 5,000 pages of documents

from 13 different casino properties. Plaintiff’s counsel reviewed, analyzed, and annotated these

documents within Stueve Siegel Hanson’s Relativity document management system for use in

discovery, conditional certification, and, ultimately, trial. Ricke Decl. at ¶ 6.

       In January 2020, Plaintiff’s counsel deposed the highest-ranking human resources official

at Boyd Gaming—Chris Smith, the Vice Present of Human Resources. That same month,

Plaintiff’s counsel also deposed the highest-ranking human resources official for the Kansas Star

casino property—Allison Bair, Kansas Star’s Director of Human Resources. Ricke Decl. at ¶ 7.

       Boyd Gaming served requests for production and interrogatories on Plaintiff James and ten

pre-certification opt-ins. With the assistance of Plaintiff’s counsel, Plaintiff James and the ten opt-

ins responded to these discovery requests, and Plaintiff James produced over 170 pages of




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documents. Ultimately, Boyd Gaming’s counsel examined Plaintiff James during an all-day

deposition. Ricke Decl. at ¶ 8.

       Though the parties ultimately resolved these issues short of Court intervention, the parties

engaged in many discovery meet and confer calls and exchanged several letters regarding

discovery disputes. See, e.g., Docs. 26, 32, 36, 48 (orders granting consent motions to extend time

to move to compel discovery responses under Local Rule 37.1(b) to facilitate meet and confer

process). Ricke Decl. at ¶ 9.

       C.      Plaintiff obtained collective certification after briefing complex, nuanced
               issues of fact and law under the FLSA.

       Following the conclusion of Phase I discovery, Plaintiff James moved for conditional

certification spanning 13 of Boyd Gaming’s casinos in seven different states. Plaintiff’s motion

was thoroughly supported, vigorously opposed, and presented an issue of first impression as to tip

pooling and an infrequently analyzed issue as to tip credit notice. Ricke Decl. at ¶ 10.

       Plaintiff sought to certify the following tip credit notice collective:

       All persons employed at a relevant Boyd Gaming casino2 during the relevant time
       period3 and paid a base hourly wage of less than the applicable federal minimum
       wage of $7.25 per hour.

       Plaintiff also sought to certify the following tip pooling collective:




2
  The relevant Boyd Gaming casinos include the following: (1) Par-A-Dice (Il.); (2) Blue Chip
(In.); (3) Diamond Jo Dubuque (Ia.); (4) Diamond Jo Worth (Ia.); (5) Kansas Star (Ks.); (6) Amelia
Belle (La.); (7) Delta Downs (La.); (8) Evangeline Downs (La.); (9) Sam’s Town Shreveport (La.);
(10) Treasure Chest (La.); (11) IP Biloxi (Ms.); (12) Sam’s Town Tunica (Ms.); and (13) Valley
Forge (Pa.).
3
  The relevant time period for this collective extends from May 24, 2016 (three years prior to the
filing of the Collective Action Complaint) to the date in or around the Spring of 2019 when Boyd
Gaming’s existing tipped employees were provided a written tip credit notice form.


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       All persons employed as a table games dealer and included within a tip pooling
       arrangement at a relevant Boyd Gaming casino4 during the relevant time period.5

       Plaintiff James’ opening brief in support of his motion for conditional certification was 30

pages, supported by 23 exhibits spanning more than 500 pages. In support of certification of the

tip credit collective, Plaintiff James argued Boyd Gaming had no policy to comply with its

affirmative obligations to provide notice of the tip credit and that the common lack of a policy

applied throughout the organization. Doc. 65 at 9–16. Plaintiff argued Boyd Gaming’s

organization-wide decision to issue a remedial tip credit notice and institute a notice policy for the

first time was evidence that there had not previously been a policy. Id.

       With respect to the tip pooling collective, Plaintiff James argued all collective members

were dealers required to pool all of their tips; that each tip pool included a category of “dual job”

employees called Dual Rate Supervisors who work as both dealers and supervisors; that Boyd

Gaming had a common PTO accrual policy for all employees; that Boyd Gaming did not track the

accrual of PTO in separate buckets for Dual Rate Supervisors based on their dual jobs; that each

tip pool paid PTO out to Dual Rate Supervisors (in at least some capacity) from the dealer’s tip

pool; and that Dual Rate Supervisors perform the same non-tipped, supervisory duties nationwide,

meaning they were not eligible participate in the tip pool for those hours. Id. at 18–29.

       Boyd Gaming opposed conditional certification with a 35-page brief supported by 60+

exhibits. It argued no common tip credit notice policy existed and that tip credit notice was

provided in a variety of ways at different casinos. Doc. 67 at 17–24. With respect to the tip pooling




4
  The relevant Boyd Gaming casinos include the following: (1) Par-A-Dice; (2) Blue Chip; (3)
Diamond Jo Worth; (4) Kansas Star; (5) Amelia Belle; (6) Sam’s Town Shreveport; (7) Treasure
Chest; (8) Sam’s Town Tunica; and (9) Valley Forge.
5
  The relevant time period for tip pooling collective extends from May 24, 2016 (three years prior
to the filing of the Complaint) to the date of the Court’s Order granting certification.


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collective, Boyd Gaming argued principally that the dealers control their own tip pools, that Dual

Rate Supervisors are able to receive tips from the dealer tip pools, and that Plaintiff James lacked

standing because he had worked as a Dual Rate Supervisor at one point. Id. at 27–33.

       Plaintiff James then addressed Boyd Gaming’s arguments in a 30-page reply brief, which

prompted Boyd Gaming to submit a motion for leave to file a sur-reply, which attached a nine-

page sur-reply. Doc. 79. Plaintiff opposed the motion, arguing a sur-reply was not appropriate

because any new cases or arguments in Plaintiff’s reply were not “new” and were simply

responding to Boyd Gaming’s arguments. The contested and voluminous nature of the conditional

certification briefing demonstrated how unique and challenging this case was. Ricke Decl. at ¶ 11.

       In March 2021, this Court issued a 56-page order addressing each of the parties’ arguments

and granting conditional certification of Plaintiff’s proposed collectives. Doc. 78. The decision

was ultimately reported—James v. Boyd Gaming Corp., 522 F.Supp.3d 892 (D. Kan. 2021).

       D.      Plaintiff’s counsel conducted a thorough and time-consuming opt-in process.

       Plaintiff’s counsel worked with a third-party notice administrator (Angeion) to implement

a notice program designed to reach as many potential collective members as possible and to

communicate the nature of the case in easy-to-understand terms. Plaintiff’s counsel directed and

implemented the creation of a case website, notice form, opt-in form, email protocol, text message

protocol, and mailing protocol. Ultimately, the administrator sent notice of this case to 4,218

individual Boyd Gaming workers by U.S. Mail and (where possible) email and text. Of those

nearly 4,200 potential collective members, approximately 1,200 were eligible to join both the tip

credit and tip pooling collectives. Ricke Decl. at ¶ 12.




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         After a 90-day notice period concluding in August 2021, approximately 828 collective

members opted into the case by the filing of an executed Consent to Join Form.6 Plaintiff’s counsel

then communicated with each collective member and coded their information into Plaintiff’s

counsel’s proprietary client database, tracking important information for each member including

the casino property where the client worked, their period of employment, and data regarding their

limitations period. This was a significant undertaking. Id. at ¶ 13.

III.     The Parties Engaged in Arm’s-Length Settlement Negotiations.

         The parties initially mediated pursuant to the Court’s Scheduling Order in January 2020.

Michael F. Delaney, a labor and employment attorney at Spencer Fane in Kansas City, presided

over the mediation. The mediation was not successful due to distance between the parties’

respective positions on the structure and amount of any settlement. Id. at ¶ 14.

         In the Fall of 2021, with the notice and opt-in process complete, the parties agreed to

explore settlement for the certified collectives. The parties engaged noted wage and hour mediator

Francis X. Neuner of Neuner Mediation & Dispute Resolution (previously the managing partner

of, and employment litigator at, Spencer Fane’s St. Louis office) for a mediation on November 30,

2021. In advance of the mediation, the parties fully briefed their positions on the merits and

damages to the mediator. In addition, Plaintiff’s counsel analyzed thousands of individual daily

time records for each collective member to create a collective-wide damage model. Id. at ¶ 15.

         On November 30, 2021, after an all-day in-person mediation at Polsinelli’s Kansas City

office, the parties reached an agreement and signed a term sheet containing the substantive terms

of the settlement for the collective with an agreement to separately negotiate Plaintiff’s counsel’s


6
 Thirty individuals sent executed Consent to Join forms to the settlement administrator who were
ultimately not eligible to participate and were not on the collective lists provided by Boyd Gaming.
This is a common phenomenon when notice is sent to large workplaces (like casinos) in FLSA
cases. Those 30 people are not included in the 828 settlement participants discussed above. Id.


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entitlement to attorneys’ fees under the FLSA. See 29 U.S.C. § 216(b). On December 16, 2021,

the parties again reconvened at Polsinelli and conducted an all-day negotiation among counsel

regarding Plaintiff’s counsel’s attorneys’ fees. That night, the parties reached a negotiated

resolution on attorney’s fees. Ricke Decl. at ¶ 16.

        The parties then spent the next approximately three months negotiating the terms of the

Joint Stipulation of Settlement and Release (“Settlement Agreement”), attached to the Ricke

Declaration as Exhibit 1, which is now before the Court. Id. at ¶ 17.

IV.     Plaintiff’s Counsel Sent Notice of Settlement to the 828 Collective Members.

        Consistent with this Court’s case law on providing notice of FLSA settlements and

opportunity to object to post-conditional certification opt-ins,7 Plaintiff’s counsel engaged third-

party settlement administrator Analytics Consulting LLC to distribute notice of the settlement to

the 828 collective members. The notice advised collective members of their projected settlement

amounts, how the awards were calculated, the scope of the release, the amount of attorneys’ fees

and expenses, the amount of the service award, and the parties’ positions on the claims. A copy of

the template notice is attached to the Ricke Declaration as Exhibit 2.

        On April 21, 2022, Analytics Consulting LLC sent the notice by email to 773 collective

members and by U.S. Mail to 55 collective members. The notice explained that members must

send any objections by May 12, 2022 (21 days later). Emails were returned as undeliverable from

38 collective members, so Analytics Consulting LLC mailed each a paper Notice by U.S. Mail. As

of May 4, 2022, seven of those paper notices had been returned undeliverable, and Plaintiff’s




7
  Foster v. Robert Brogden's Olathe Buick GMC, Inc., 2019 WL 1002046, at *9 n.4 (D. Kan. Feb.
28, 2019) (Crabtree, J.) (“when a hearing is not requested, the plaintiff … must notify the court
that the opt-in plaintiffs had notice of the settlement and an opportunity to object.”).



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counsel called each collective member and sent a copy of the notice by email. Mitchell Decl. at ¶¶

7-10.

        As of the date of this filing, no collective members have objected to the terms of the

settlement. The objection period will run until May 12, 2022. On May 16, 2022, Plaintiff’s counsel

will provide the Court with a status report to update the Court regarding whether any collective

member objects to the settlement agreement. Ricke Decl. at ¶ 24.

                           SUMMARY OF SETTLEMENT TERMS

I.      The Scope of the Settlement is Limited to Opt-Ins.

        The settlement is limited to the 828 members of the tip credit notice collective and the tip

pool collective conditionally certified by the Court who returned consent to join forms. Settlement

Agreement, Ex. 1 at ¶¶ I.B.1, I.B.2.

II.     Payments to Collective Members.

        Boyd Gaming will create a $1,200,000 common fund that will: (1) pay awards to collective

members; (2) pay the cost of settlement administration (capped at $16,436); (3) pay a proposed

service award to Plaintiff James ($5,000); and (4) reimburse Plaintiff’s counsel’s advanced

litigation expenses ($85,000). See id. at ¶¶ IV.B.4 (settlement administrator’s expenses); IV.B.4

(service award); IV.B.3.c (Plaintiff’s counsel’s advanced expenses). After expenses, the

Settlement Agreement allocates 51% of the net fund to the tip credit notice collective and 49% of

the net fund to the tip pooling collective. This distribution tracks the approximate distribution of

damages between the two claims. The Settlement Agreement provides for distribution of

settlement payments pro rata to collective members based on their respective damages within each

collective. Id. at ¶¶ IV.B.2.a, IV.B.2.b. Boyd Gaming will separately pay its share of employer-

side payroll taxes in addition to the $1,200,000 fund. Id. at ¶ IV.B.6.




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       Plaintiff’s counsel calculated tip credit damages of $1,323,163 through July 2021 based on

the wage and hour data Boyd Gaming produced for mediation. Using that data, Plaintiff’s counsel

extrapolated an additional $30,482.91 in tip credit damages for the modest number of collective

members who were dealers, still working working at Boyd Gaming, and still participating in a

dealer tip pool through the release date of December 31, 2021 (as the Court will recall, the tip

credit notice damages stopped accruing when Boyd Gaming issued the remedial notice in 2019).

The $1,200,000 fund represents 88% of claimed tip credit damages.8 Ricke Decl. at ¶ 21.

       The mean average per capita settlement payment is over $1,320. The largest settlement

payment is over $6,200. And 200 collective members will receive settlement payments over

$2,000 while no collective member will receive less than $50. Ricke Decl. at ¶ 20. These payments

are meaningful; particularly considering the high percentage of recovery and that the Settlement

Agreement insulates the fund from being reduced to pay Plaintiff’s counsel’s attorneys’ fees.

       Approval of the Settlement Agreement will allow members to receive payments in short

order. Within 14 days of the Court’s order approving the settlement, Boyd Gaming will fund the

qualified settlement fund. Within 30 days of the Court’s order approving the settlement, the



8
  An additional measure of damages is available under the FLSA for the tip pooling claim, which
is “all such tips unlawfully kept by the employer.” See 29 U.S.C. § 216(b). The tip credit is far
and away the primary driver of damages in this tip pooling claim. Assuming that all of the tips
distributed to Dual Rate Supervisors were unlawfully distributed—a point Boyd Gaming would
have certainly contested through the use of expensive and time-consumer expert testimony—each
opt-in would be entitled to his or her pro rata share of the unlawfully distributed tips. Boyd Gaming
produced data showing that in 2017, 2018, 2019, 2020, and 2021, it distributed $902,738.56 in
dealer tips to Dual Rate Supervisors for PTO. There were 1,632 workers eligible to participate in
the tip pool collective and 388 workers opted into the tip pool collective (i.e., 24%). Assuming all
of the tips paid to Dual Rate Supervisors were unlawful, all off the tips were inside the limitations
periods for each collective member, and all collective members were working during those
workweeks, collective members’ proportional share of those tips could reasonably be calculated
to be approximately $216,657 (24% of the total). When including this best-day damages scenario
into the total damages figure, the $1,200,000 common fund still represents 76% of tip credit and
misallocated tip damages. By any measure, this is a strong recovery. Ricke Decl. at ¶ 22.


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settlement administrator will issue checks directly to collective members. Settlement Agreement,

Ex. 1 at ¶ IV.H.1. For purposes of settlement, the settlement payments to collective members will

be treated as 50% wages and 50% non-wages. Id. at ¶ IV.H.2. If a collective member does not

deposit his or her settlement check within 120 days, the settlement payment will be paid to the

unclaimed property division of the state where the collective member lives to be held on his or her

behalf. Id. Under no circumstances will the payments revert to Boyd Gaming. Id.

III.     The Release of Claims is Reasonable.

         As set out more fully in the Settlement Agreement, collective members will release claims

against Boyd Gaming and its affiliates based on tip credit and tip pooling through December 31,

2021. Id. at ¶ IV.C.1. However, “nothing in this [Settlement Agreement] will be considered a

waiver of any claims by Opt-In Plaintiffs that may arise after December 31, 2021.” Id. at ¶ IV.C.3.

IV.      The Parties Have Allocated a Modest Service Award to Plaintiff James.

         For his efforts on behalf of the collective, including, as discussed at length below,

producing documents, being deposed, and bringing this case against his then-current employer, the

parties agreed to allocate Plaintiff James a $5,000 service award payable from the common fund

and subject to the Court’s approval. Id. at IV.B.4.

V.       The Parties Have Separately Negotiated a Lodestar Fee to Plaintiff’s Counsel.

         Also detailed below, Boyd Gaming has agreed to pay Plaintiff’s counsel $1,100,000 in

attorneys’ fees as part of the settlement, which represents a material discount on Plaintiff’s

counsel’s lodestar. This payment is separate from and in addition to the considerable relief being

paid to collective members pursuant to the FLSA’s mandatory attorneys’ fee shifting provision,

29 U.S.C. § 216(b). Id. at IV.B.3.




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                                           ARGUMENT

I.     The Settlement Should Be Approved as a Fair and Reasonable Resolution of a Bona
       Fide Dispute Under the FLSA.

       “[W]hen parties settle FLSA claims, they must present the settlement to the court to review

and decide whether the settlement is fair and reasonable.” Enegren v. KC Lodge Ventures LLC,

2019 WL 5102177, at *4 (D. Kan. Oct. 11, 2019) (Crabtree, J.) (citing Tommey v. Computer Scis.

Corp., 2015 WL 1623025, at *1 (D. Kan. Apr. 13, 2015)). As explained by this Court, settlement

approval requires the court to determine whether (1) the litigation involves a bona fide dispute; (2)

the proposed settlement is fair and equitable to all parties; and (3) the proposed settlement contains

an award of reasonable attorney’s fees. Id. (citing Barbosa v. Nat’l Beef Packing Co., LLC, 2015

WL 4920292, at *5 (D. Kan. Aug. 18, 2015)).

       A.      Plaintiff’s claims present two bona fide disputes of liability under the FLSA.

       First, the Court must determine whether the dispute regarding FLSA coverage is bona fide.

The party seeking approval must provide the Court with: (1) a description of the nature of the

dispute; (2) a description of the employer’s business and the type of work performed by the

employees; (3) the employer’s reasons for disputing the employees’ right to a minimum wage or

overtime; (4) the employees’ justification for the disputed wages; and (5) if the parties dispute the

computation of wages owed, each parties’ estimate of the number of hours worked, and the

applicable wage. Enegren, 2019 WL 5102177, at *5.

       Section I.A-B above describes the tip credit notice and tip pooling claims under the FLSA

at length. Further, the Court aptly described the nature of the claims and the parties’ respective

positions in its order granting conditional certification. James, 522 F. Supp. 3d at 899–901. With

respect to the tip credit notice collective, Plaintiff alleges Boyd Gaming failed to provide notice of

the FLSA’s tip credit notice requirements prior to claiming a tip credit and paying a sub-minimum



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wage to members of the tip credit notice collective. See 29 U.S.C. § 203(m); 29 C.F.R. § 531.59(b).

The remedy is the difference between the collective members’ direct cash wage and $7.25 for each

hour worked during the limitations period. James, 522 F. Supp. 3d at 899-900. This is a binary

proposition. Boyd Gaming either provided the notice or it did not. Boyd Gaming contends it

provided proper notice. Settlement Agreement, Ex. 1 at ¶ I.A.

       With respect to the tip pooling claim, Plaintiff contends Boyd Gaming maintained unlawful

tip pools for dealers due to the inclusion of non-tipped, supervisory employees called Dual Rate

Supervisors. See 29 U.S.C. § 203(m)(2)(A)(ii). Plaintiff’s damages are voiding the tip credit and

return of the unlawfully distributed tips. 29 U.S.C. § 216(b). Again, this is an all-or-nothing

proposition. Dual Rate Supervisors may either participate in the tip pool for PTO hours accrued in

their non-tipped, supervisory roles or they cannot. Boyd Gaming argued Dual Rate Supervisors

are permitted to participate in the dealer tip pool due to the nature of their roles. Settlement

Agreement, Ex. 1 at ¶ I.A. A genuine dispute of FLSA coverage exists in this case and, with

respect to the tip pooling, Plaintiff’s counsel is unaware of any Court that has definitively applied

the FLSA to facts akin to that presented to the Court in this case.

       Further, this case has been vigorously litigated. As described above, this case entailed two

high-level depositions of Boyd Gaming’s executives, a deposition of Plaintiff, production of more

than 5,000 pages of documents, contested briefing on conditional certification (that itself resulted

in a 50+ page opinion from this Court), and a lengthy opt-in process followed by mediation. The

Court can readily conclude that this is a settlement of a bona fide dispute under the FLSA. Enegren,

2019 WL 5102177, at *5 (finding the claims and defenses asserted by the parties framed a bona

fide dispute about FLSA provisions in case where no contested conditional certification motion

was filed).




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       B.      The settlement is a fair and equitable resolution of disputed claims.

       “To be fair and reasonable, an FLSA settlement must provide adequate compensation to

the employee and must not frustrate the FLSA policy rationales.” Enegren, 2019 WL 5102177 at

*5 (quoting Solis v. Top Brass, Inc., 2014 WL 4357486, at *3 (D. Colo. Sept. 3, 2014)). This Court

has identified four factors that bear on fairness: (1) whether the proposed settlement was fairly and

honestly negotiated; (2) whether serious questions of law and fact exist, placing the ultimate

outcome of the litigation in doubt; (3) whether the value of an immediate recovery outweighs the

mere possibility of future relief after protracted and expensive litigation; and (4) the judgment of

the parties that the settlement is fair and reasonable. Id. (quoting Barbosa, 2014 WL 5099423, at

*7). Each factor weighs in favor of approving the Settlement Agreement.

               i.      The collective settlement was fairly and honestly negotiated at arm’s-
                       length through a mediator.

       The parties reached a settlement of collective members’ claims with the assistance of well-

regarded wage and hour mediator, Francis X. Neuner, through an all-day arm’s-length mediation—

their second mediation. This Court has noted that settlement under such circumstances weighs in

favor of settlement approval. Enegren, 2019 WL 5102177 at *6 (finding settlement was fairly and

honestly negotiated where the parties resolved the case through an arms-length mediation with a

capable and experienced mediator); In re Viropharma Inc. Sec. Litig., 2016 WL 312108, at *8

(E.D. Pa. Jan. 25, 2016) (noting participation of an independent mediator “virtually [e]nsures that

the negotiations were conducted at arm’s length and without collusion between the parties”).

       After the substantive terms of the settlement were reached with the assistance of a mediator,

Plaintiff’s counsel and Boyd Gaming’s counsel separately negotiated Plaintiff’s counsel’s

entitlement to attorneys’ fees under the FLSA. The resulting compromise fee of $1,100,000

represents a material discount on Plaintiff’s counsel’s lodestar. Ricke Decl. at ¶¶ 32-35.



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               ii.     Substantial question of law and fact remain in dispute, placing the
                       ultimate outcome of the litigation in doubt.

       Boyd Gaming contested nearly every aspect of this case. With respect to the tip credit

notice claim, Boyd Gaming alleged it had provided notice of the tip credit through job offers, group

trainings, individual trainings, orientation, paystubs, wage and hour posters, internal control

documents regarding tips, Gaming Industry Tip Compliance Agreements, and certain tip credit

forms. Doc. 67 at pp. 5-10. Further, Boyd Gaming argued these wide-ranging methods of allegedly

providing notice varied from casino to casino and even department to department. Id. Likewise,

Boyd Gaming disputed that the Department of Labor regulation at the heart of the tip credit notice

claim (29 C.F.R. § 531.59(b)) controlled the analysis, arguing instead that something less was

required. Id. at pp. 17-19. The parties substantially disagreed over the applicable law, whether

Boyd Gaming adequately provided notice of the tip credit, and whether the case should proceed as

a collective. Enegren, 2019 WL 5102177, at *6 (finding this factor satisfied where parties disputed

threshold FLSA coverage issue of whether uniforms were a reimbursable business expense).

       Boyd Gaming’s opposition to the tip pooling claim was just as vigorous. For example,

Boyd Gaming denied, as a threshold issue, that FLSA coverage even existed here. Boyd Gaming

argued that, because the dealers allegedly “decide how they will distribute their tips,” the FLSA’s

tip pooling protections do not apply. Doc. 67 at p. 25. Plaintiff argued in response that the tip pools

were mandatory and that, as a result, Boyd Gaming could not offload their FLSA responsibilities

to their employees. Doc. 70 at pp. 21-22. Likewise, Boyd Gaming argued that Dual Rate

Supervisors were not “managers or supervisors” withing the meaning of Section 3(m). Doc. 67 at

pp. 28-30. And, though Plaintiff is confident he could have shown Dual Rate Supervisors are non-

tipped, managerial or supervisory employees within the meaning of the FLSA, this would have




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required significant discovery across casinos around the country. Under these circumstances, the

Court can be satisfied that these issues are both substantial and disputed.

                iii.   Given the near make-whole relief, immediate recovery outweighs the
                       possibility of increasing the recovery through trial.

        The parties settled this case after the conclusion of Phase I discovery and the opt-in process.

Phase II of this case would have involved significant discovery of collective members (Boyd

Gaming likely would have attempted to depose hundreds of collective members), discovery of

managerial employees at 13 Boyd Gaming casino spread across seven states, cross motions for

summary judgment, a motion to decertify the collectives, a trial, and appeal. Absent settlement, any

monetary relief to these minimum wage workers was years away. Ricke Decl. at ¶ 23. Further,

collective members have little to gain from additional litigation. As discussed above, collective

members are recovering approximately 88% of claimed tip credit damages (or, put another way,

approximately 76% of tip credit plus best-day misallocated tip damages). Although the best-case

outcome of a trial could allow collective members to recover liquidated damages under the FLSA,

the significant settlement payments right now outweigh the chance to obtain perhaps only

nominally more at trial several years from now. Enegren, 2019 WL 5102177, at *6 (finding

settlement fair and reasonable when the “[s]ignificant discovery and the likelihood of dispositive

motions from both sides means a litigated resolution is years away”).

                iv.    The settlement provides collective members considerable relief.

        The terms of the Settlement Agreement, considered alongside the remedial purpose of the

FLSA, establish that the proposed settlement is not only fair and reasonable, but a strong result.

Collective members will recover 88% of claimed tip credit damages (or viewed another way, 76%

of tip credit and best-day tip claw back damages), with the average settlement check totaling over

$1,300. In lieu of a complicated claims process, collective members will be mailed checks



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automatically upon approval. None of the funds will revert to Boyd Gaming. And, rather than take

a percentage of the collective members’ recovery for attorneys fees, Plaintiff’s counsel’s fees are

being paid separately and in addition to the considerable relief going to the collectives. This is a

strong result and compares favorably to other tip credit settlements.9 Ricke Decl. at ¶¶ 20-24.

               v.      Plaintiff’s counsel’s support for the settlement is informed by
                       significant experience in casino wage and hour litigation.

       Plaintiff’s counsel have considerable experience in litigating, trying, and resolving wage

and hour disputes around the country. Following a successful class action wage and hour jury trial

in the District of Kansas, Judge Marten noted regarding Stueve Siegel Hanson that “plaintiffs’

counsel’s experience in wage-hour class actions has unmatched depth.” Garcia v. Tyson Foods,

Inc., 2012 WL 5985561, at *4 (D. Kan. Nov. 29, 2012), aff'd, 770 F.3d 1300 (10th Cir. 2014).

More recently, Plaintiff’s counsel has been described as “uniquely skilled and efficient in

prosecuting casino wage and hour cases.” Bartakovits, 2022 WL 702300, at *3. Having

collectively prosecuted more than 20 casino wage and hour class and collective actions of the same

or similar wage and hour claims, Plaintiff’s counsel have an appreciation of the risks attendant to

each claim. The high percentage of recovery, the limited release, the direct mailing of checks

following approval, the absence of any reversion to Boyd Gaming, and Boyd Gaming’s agreement


9
  See, e.g., Cope v. Let's Eat Out, Inc., Case No. 6:16-cv-03050-SRB, Doc. 316 at *12 (W.D. Mo.
April 17, 2019) (motion for approval of settlement creating $650,000 common fund to resolve tip
credit notice (and other unpaid wages claims) and noting “the settlement provides Opt-in Plaintiffs
with 25% of their owed minimum wages.”); see Cope v. Let’s Eat Out, Inc., 2019 WL 11790417
(W.D. Mo. Sept. 6, 2019) (granting approval of settlement); see also Black v. P.F. Chang's China
Bistro, Inc., Case No. 16-CV-3958, Doc. 92 at *7 n. (N.D. Ill. May 15, 2017) (motion to approve
settlement of tip credit notice claim (and other unpaid wage claims impacting the tip credit)
representing 35.5% of the value of the case and providing an average payment of $715 to opt-in
plaintiffs); id. at Doc. 103 at ¶ 4 (granting approval of settlement); Bartakovits v. Wind Creek
Bethlehem LLC, 2022 WL 702300 at *2 (“the common fund represents over 57% of the unpaid
minimum wages” in tip credit notice and wage deduction class action); Day v. PPE Casino Resorts,
LLC, Case No. 1:20-cv-01120-RDB, Doc. 43-1 (motion to approve settlement for 20% of tip credit
damages) (D. Md.); see id. at Doc. 45 (approving settlement).


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to pay Plaintiff’s counsel’s fees separately and in addition to the recovery to the workers all

demonstrate a strong result for workers that could only be improved through a complete victory at

trial plus award of liquidated damages. The settlement merits approval as fair and reasonable.

Ricke Decl. at ¶¶ 25-29; Stueve Siegel Hanson Firm Resume, Exhibit 3 to Ricke Declaration).

               vi.     The reaction of collective members weighs in favor of approval.

       As of the date of this filing, no collective members have objected to the settlement. The

objection period runs through May 12, 2022, after which Plaintiff’s counsel will file a status report

to update the Court regarding objections, if any. Plaintiff’s counsel followed the notice process

outlined by this Court in Enegren, providing a three-week objection window after mailing and

emailing a formal settlement notice. The notice explained the material terms of the settlement,

including allocation, estimated settlement payments, tax reporting, the proposed service award, the

proposed attorneys’ fee and cost award, and the limited release of claims. Ricke Decl. at ¶ 24;

Enegren, at *7. The lack of any objections after a reasonable notice process weighs in favor of

approval of the settlement. Id.

       The settlement provides real, meaningful payments to collective members,10 particularly

given the nature of these minimum wage claims, and should be approved as fair and reasonable.

               vii.    The plan of allocation to collective members is fair and equitable
                       because it is based on each collective member’s damages.

       As detailed in the Settlement Agreement, the settlement payments to collective members

are based on their pro rata damages in the two separate collectives. Settlement Agreement, Ex. 1

at ¶ IV.B.2.a. The net settlement fund (i.e., the $1,200,000 fund less expenses, costs, and service

award pending approval by the Court) is allocated 51% to the tip credit notice collective and 49%



10
   One collective member responded to the notice with the following message: “from the bottom
of my heart, thank you so much. I appreciate you.” Ricke Decl. at ¶ 24.


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to the tip pooling collective, which tracks the approximate distribution of damages between the

two groups. Id. at ¶ IV.B.2.b. Each individual collective member’s damages are based on when

they submitted their consent to join (i.e., when their limitations period was tolled), the number of

hours worked during the collective period, and their individual wage rates. However, there is a $50

minimum payment to all collective members that comes off the top to compensate them for the

risk of participating in a wage and hour case against their employer. In Plaintiff’s counsel’s

opinion, this is the most fair and equitable way to allocate the net settlement fund because it

principally pays collective members for their pro rata damages while also rewarding all collective

members with a nominal payment for participating in the case. Enegren, 2019 WL 5102177, at *7

(approving settlement as fair and reasonable where allocation formula is based principally on

paying the most to employees with the highest damages).

II.     The Court Should Grant Final Collective Certification.

        Although this Court previously determined that the proposed collectives were similarly

situated for purposes of conditional certification, the Court must nonetheless make a final

collective certification decision. Enegren, 2019 WL 5102177 at *3 (citing Thiessen v. Gen. Elec.

Capital Corp., 267 F.3d 1095, 1102–03 (10th Cir. 2001)). The Court considers the following

factors in making that determination: (1) the disparate factual and employment settings of

collective members; (2) various defenses available to Boyd Gaming which appear to be individual

to each plaintiff; and (3) fairness and procedural considerations. Id.11

        First, final collective certification is appropriate for the same reasons this Court granted

conditional certification after reviewing a vigorously disputed Phase I discovery record. See


11
   Plaintiff’s Reply in Support of Conditional Certification (Doc. 70) lists the myriad ways
collective members are similarly situated within the tip credit notice collective (10 paragraphs of
common characteristics, see Doc. 70 at pp. 2-4) and the tip pooling collective (15 paragraphs of
common characteristics, id. at pp. 17-18).


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James, 522 F.Supp.3d at 892. Plaintiff alleged that Boyd Gaming jointly employed each collective

member of the tip credit notice collective at one of its casinos, paid each member a direct cash

wage less than $7.25 per hour plus tips, and attempted to take a Section 3(m) tip credit for each

worker. Further, because the FLSA places the onus on the employer to show it is entitled to the tip

credit (an exception to the FLSA’s minimum wage requirements), all collective members are

similarly situated as to Boyd Gaming’s burden of showing how it provided them notice. As this

Court aptly described in granting conditional certification:

       It’s Boyd Gaming’s alleged common failure to follow the law. Surely, no one would
       expect defendants or any other company to inscribe as much onto a plaque for all
       of the world to see. That’s not how omissions work. And plaintiff's case is focused
       centrally on omissions.

James, 522 F.Supp.3d at 913–14 (citing Thiessen, 267 F.3d at 1102).

       With respect to the tip pooling collective, Plaintiff alleged that each collective member was

employed by Boyd Gaming, was a table games dealer subject to a mandatory tip pool, and that tip

pool paid out some portion of dealer tips to for PTO to Dual Rate Supervisors. Whether the

collective’s claim prevails has much more to do with the tip pool rules and very little to do with

the individual circumstances of the collective members. Because whether this practice violates the

FLSA depends on the amount of PTO paid out to Dual Rate Supervisors, how that PTO was

accrued, and whether Dual Rate Supervisors are non-tipped or supervisory employees. This claim

is well-suited to collective treatment under the FLSA. See James, 522 F. Supp. 3d at 914-22.

       Second, though there is the potential for individual defenses to the tip credit notice claim,

that is not an issue in this case. Plaintiff alleges Boyd Gaming had no policy of ensuring its sub-

minimum wage employees received notice of the tip credit. James, 522 F. Supp. 3d at 913–14.

The analysis is even more straightforward regarding the tip pool claim where Plaintiff is unaware

of any individual defenses offered by Boyd Gaming.



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         Third, fairness and procedural considerations weigh heavily in favor of final collective

certification. It would not be efficient to burden the federal court system with 828 individual tip

credit notice and tip pooling lawsuits, with a few thousand dollars in controversy each, when those

individual claims all turn on the same set of common facts and law. And practically speaking, a

collective settlement is far superior to piecemeal litigation or even collective litigation. Enegren,

2019 WL 5102177, at *4 (“the policy of encouraging settlement of litigation also favors final

collective action certification”). The Court should grant final collective certification.

III.     The Court Should Approve the Separately Negotiated Award of Attorneys’ Fees to
         Plaintiff’s Counsel as Reasonable.

         Consistent with the FLSA’s mandatory fee-shifting provision, Plaintiff’s counsel

negotiated attorneys’ fees separate from and in addition to the relief to be paid to collective

members. 29 U.S.C. § 216(b). Boyd Gaming agreed to pay Plaintiff’s counsel $1,100,000 in

attorneys’ fees subject to Court approval. Settlement Agreement, Ex. 1 at ¶ IV.B.3. By any

objective metric, this is a reasonable fee given the result achieved for collective members, the

negative lodestar multiplier, and the Johnson factors.

         A.     The compromise fee, a negative multiplier on Plaintiff’s counsel’s lodestar, is
                reasonable, agreed to by the parties, and should be approved.

         This Court should use the lodestar analysis to evaluate the reasonableness of the requested

attorneys’ fees because this is a statutory fee-shifting case and the parties have agreed to a separate

lodestar fee. “[T]he most useful starting point for determining the amount of a reasonable fee is

the number of hours reasonably expended on the litigation multiplied by a reasonable hourly rate.”

Ross v. Jenkins, 325 F. Supp. 3d 1141, 1178 (D. Kan. 2018) (Crabtree, J.) (quoting Flitton v.

Primary Residential Mortg., Inc., 614 F.3d 1173, 1176 (10th Cir. 2010)).

         Detailed in full in the Declaration of Mr. Ricke, filed concurrently herewith, Plaintiff’s

counsel reasonably expended 2,991.6 hours for a lodestar of $2,169,227.50 at Plaintiff’s counsel’s


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standard hourly rates. Ricke Decl. at ¶¶ 35-36. Thus, the agreed-upon attorneys’ fee represents a

negative lodestar multiplier of 0.507 that results in a blended hourly rate of $367 per hour. Id.

       Plaintiff’s counsel asks this Court to approve as reasonable the $367 blended hourly rate

Plaintiff’s counsel is recovering in this case. It is well below Plaintiff’s counsel’s standard hourly

rates. And it is likewise well below the blended hourly rates Plaintiff’s counsel have recovered in

the District of Kansas and around the country over many years. See Ricke Decl. at ¶¶ 39-41.12

       For example, the $367 blended hourly rate is only modestly higher than the $302.29

blended hourly rate awarded to Plaintiff’s counsel following a class and collective wage and hour

verdict nearly ten years ago in the District of Kansas. The contested fee in that case was affirmed

by the Tenth Circuit as reasonable for similar wage and hour work before this Court. Garcia v.

Tyson Foods, Inc., 2012 WL 5985561, at *3 (D. Kan. Nov. 29, 2012) (Marten, J.), aff'd, 770 F.3d

1300 (10th Cir. 2014). Accounting for 2.2% average annual inflation over the ten years since

Garcia, the $367 blended hourly rate is roughly equivalent to (if not marginally less than) the $302

blended hourly rate approved in Garcia. See Ross v. Jenkins, 325 F. Supp. 3d 1141, 1182 (D. Kan.



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  The Settlement Agreement includes an attorneys’ fee award that is only modestly less than the
result for the collective. This Court has observed that “when the attorneys’ fees do not come from
the same fund as the class reward … it is more reasonable to award the attorney’s lodestar without
considering the percentage of the FLSA award.” Flerlage v. US Foods, Inc., 2020 WL 4673155,
at *13 (D. Kan. Aug. 12, 2020) (Crabtree, J.). This is such a case. Plaintiff’s counsel negotiated
a recovery for the collective and then, separate from and in addition to the relief going to the
workers, negotiated a reasonable lodestar attorneys’ fee under the FLSA’s fee-shifting provision.
The fee-shift incentivizes plaintiff’s counsel to vindicate important rights by allowing them to
recover their attorneys’ fees separately. Given the FLSA’s remedial purpose, it is not uncommon
for attorneys’ fees and costs to even exceed the recovery to the employees. Garcia v. Tyson Foods,
Inc., 770 F.3d 1300, 1311 (10th Cir. 2014) (affirming over $3 million in fees to Stueve Siegel
Hanson on a six-figure wage and hour verdict and holding “the fee award need not be proportionate
to the damages award”); Fisher v. SD Prot. Inc., 948 F.3d 593, 604 (2d Cir. 2020) (“a fee may not
be reduced merely because the fee would be disproportionate to the financial interest at stake in
the litigation”); Howe v. Hoffman-Curtis Partners Ltd., LLP, 215 Fed. App’x 341, 342 (5th Cir.
Jan. 30, 2007) (“Given the nature of claims under the FLSA, it is not uncommon that attorney fee
requests can exceed the amount of judgment in the case by many multiples.”).


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2018) (Crabtree, J.) (“The court believes it is appropriate to adjust to accommodate inflation. The

inflation rate for both 2016 and 2017 was 2.1%.”) (citing Kimberly Amadeo, U.S. Inflation Rate

by Year: 1929–2020, The Balance (updated Jan. 15, 2018)). The blended rate Plaintiff’s counsel

seeks is less than Plaintiff’s counsel has been awarded within the District of Kansas13 and should

be approved as reasonable, particularly given Boyd Gaming agrees it is reasonable.

        Prior to addressing the Johnson factors, several other factors weigh strongly in favor of

approving the agreed fee as reasonable under the circumstances of this case. First, the Supreme

Court has instructed litigants to settle attorneys’ fee disputes in statutory fee-shifting cases where

possible, which is what the parties did here. Hensley v. Eckerhart, 461 U.S. 424, 437 (1983) (“A

request for attorney’s fees should not result in a second major litigation. Ideally, of course, litigants

will settle the amount of a fee”). Second, by settling the lodestar fee separate from, in addition to,

and after the relief payable to the collective members, the settlement confers a significant benefit

on collective members because their settlement payments are not reduced to compensate Plaintiff’s

counsel for their time. Though not binding on this Court, the Eighth Circuit has persuasively

trended towards granting significant deference to negotiated attorneys’ fee awards in situations

where, like here, the parties have separately resolved the statutory entitlement to a fee under the

FLSA after settling the plaintiff’s claim. Melgar v. OK Foods, 902 F.3d 775, 779 (8th Cir. 2018)

(“[R]eview of attorneys’ fees included in a settlement agreement requires a certain level of



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   See, e.g., In re Bank of Am. Wage & Hour Emp. Litig., No. 10-MD-2138-JWL, 2013 WL
6670602, at *3 (D. Kan. Dec. 18, 2013) (Lungstrum, J.) (performing a lodestar cross-check and
finding that 1.1 multiplier on $488 blended hourly rate “further reflects the reasonableness of the
percentage fee award” where Stueve Siegel Hanson was lead counsel in wage and hour MDL);
Bruner v. Sprint/United Mgmt. Co., 2009 WL 2058762, at *10 (D. Kan. July 14, 2009) (Vratil, J.)
(awarding Stueve Siegel Hanson a blended hourly rate of $590.91 on lodestar fee nearly 13 years
ago); In re Syngenta AG MIR 162 Corn Litig., 357 F.Supp.3d 1094, 1115 (D. Kan. 2018)
(Lungstrum, J.) (performing a lodestar cross-check and finding that 1.4 multiplier on hourly rates
“averaging under $ 500” was reasonable where Stueve Siegel Hanson was co-lead counsel).


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deference by the district court to the parties’ agreement”); Barbee v. Big River Steel, LLC, 927

F.3d 1024, 1027 (8th Cir. 2019) (same regarding settling fees in FLSA settlements). Third, the

agreed-upon fee is a negative lodestar multiplier, which is reasonable. Hapka v. CareCentrix, Inc.,

2018 WL 1879845, at *2 (D. Kan. Feb. 15, 2018) (approving attorneys’ fees and holding that a

“negative multiplier (0.87) on [Stueve Siegel Hanson’s] lodestar [] is inherently reasonable”).

       B.      The Johnson factors weigh in favor of approving the fee.

       The Tenth Circuit requires all attorneys’ fees awards to be considered in light of the

Johnson factors. Gottlieb v. Barry, 43 F.3d 474, 483 (10th Cir. 1994) (citing Johnson v. Georgia

Highway Express, Inc., 488 F.2d 714, 717–19 (5th Cir.1974)). The Johnson factors—(1) time and

labor required; (2) novelty and difficulty of the questions presented in the case; (3) skill requisite

to perform the legal service properly; (4) preclusion of other employment by the attorneys due to

acceptance of the case; (5) customary fee; (6) whether the fee is fixed or contingent; (7) any time

limitations imposed by the client or circumstances; (8) amount involved and results obtained; (9)

experience, reputation, and ability of the attorneys; (10) undesirability of the case; (11) nature and

length of the professional relationship with the client; and (12) awards in similar cases—weigh in

favor of approving the agreed-upon fee.

               i.      The time and labor required to achieve this settlement was significant.

       As noted above, Plaintiff’s counsel expended almost 3,000 hours in furtherance of this

case. This case has been litigated for three years with nearly every issue contested. As detailed

above, the parties disputed the schedule, Plaintiff’s counsel took two depositions of high-ranking

Boyd Gaming human resources executives, Plaintiff’s counsel served and reviewed three rounds

of offensive discovery, Plaintiff’s counsel worked with ten collective members to review and

responded to written discovery, Plaintiff’s counsel prepared and produced Plaintiff James for an

all-day deposition, Plaintiff’s counsel navigated countless discovery disputes, Plaintiff’s counsel


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reviewed over 5,000 pages of Boyd Gaming documents from 13 casinos, Plaintiff’s counsel

completed Phase I discovery, Plaintiff’s counsel extensively researched complicated issues under

the FLSA (e.g., the validity and enforceability of the tip credit notice regulation (29 C.F.R. §

531.59(b)), whether Fed. R. Evid. 408 prohibited the use of Boyd Gaming’s remedial tip credit

notice in support of conditional certification and the merits, what constitutes a “manager or

supervisor” for purposes of tip pooling under the FLSA (29 U.S.C. § 203(m)), Plaintiff’s counsel

briefed a fully contested conditional certification motion, and Plaintiff’s counsel conducted a

comprehensive notice program by U.S. Mail, email, and text message to over 4,000 potential opt-

ins ultimately representing more than 800 collective members. Ricke Decl. at ¶¶ 2-13.

       With respect to settlement, Plaintiff’s counsel participated in two mediations presided over

by mediators and one negotiation among counsel. As a part of those mediations, Plaintiff’s counsel

fully briefed prospects for final collective certification, liability, and damages. After a settlement

was reached, Plaintiff’s counsel took the lead on drafting the settlement agreement and notice.

Plaintiff’s counsel engaged in a four-month process of negotiating the final written settlement

agreement with defense counsel. Plaintiff’s counsel worked with Analytics Consulting LLC to

administer notice to collective members of the proposed settlement and to calculate settlement

payments. Plaintiff’s counsel have communicated with approximately 75 collective members

since the settlement notices issued with more calling and emailing daily to ask questions about the

settlement, understand tax consequences, etc. Further, preparing this motion for approval has been

a significant undertaking. And, following approval of the settlement, Plaintiff’s counsel will

expend additional time and resources communicating with the settlement administrator and

collective members. The time and labor required was significant and supports the agreed-upon




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fee. Ricke Decl. at ¶¶ 14-17, 24, 42; Enegren, 2019 WL 5102177, at *10 (explaining negative

lodestar multiplier supported fee award in FLSA collective action).

                ii.       This case involved novel and complicated FLSA issues.

        This case raises a number of novel and complex legal issues that remain unsettled under

Tenth Circuit law. These issues span from substantive disputes regarding the interpretation of the

FLSA, to disputes over pure procedure. On a procedural note, at the conditional certification stage,

the parties disputed the weight the Court may give to Boyd Gaming’s remedial tip credit notice

and whether Plaintiff needed to support its motion with admissible evidence—an unclear area of

the law on which the Court’s conditional certification acknowledged “the Tenth Circuit has not

ruled.” James, 522 F.Supp.3d at 911.

        Turning to substance, Plaintiff’s counsel has found no Tenth Circuit guidance on the

interpretation of the recent FLSA amendment at the heart of Plaintiff’s tip pooling claim: “[a]n

employer may not keep tips received by its employees for any purposes, including allowing

managers or supervisors to keep any portion of employees’ tips, regardless of whether or not the

employer takes a tip credit.” 29 U.S.C. § 203(m)(2)(B). The parties vigorously debated the

standard for what employees qualify as “managers or supervisors,” particularly at conditional

certification. See, e.g., Doc. 67 at pp. 28-30 (Boyd Gaming’s position); Doc. 70 at pp. 26-27

(Plaintiff’s position).

        Likewise, although several other district courts have granted conditional certification of tip

credit notice claims, this Court was the first to grant conditional certification based on Plaintiff’s

theory of the case that the central policy was Boyd Gaming’s failure to have a policy. In other

words, this Court fully analyzed this case based on an omission theory. To Plaintiff’s counsel’s

knowledge, this Court was the first to grant conditional certification of tip credit notice claims

when so framed, which has subsequently led to other district courts granting conditional


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certification on similar grounds. James, 522 F. Supp. 3d at 913 (“In a sense, there is a common

policy. It’s Boyd Gaming’s alleged common failure to follow the law. Surely, no one would expect

defendants or any other company to inscribe as much onto a plaque for all of the world to see.

That’s not how omissions work.”) (emphasis in original).14 The uncertainty surrounding this

question is why Boyd Gaming submitted a 36-page, full-throated opposition to conditional

certification (Doc. 67) and moved to file a surreply (Doc. 71). These types of highly-disputed and

complex issues of first impression are but a sample of those confronted by the parties in this case,

and collectively demonstrate how the relative complexity of this case both renders the outcome far

from certain, and weighs in favor of approving the fee.

               iii.    This case and the settlement required significant skill from Plaintiff’s
                       counsel.

       As noted above, this case was not a run-of-the-mill FLSA case about well-trodden overtime

exemptions. Just the opposite. This case presented complicated questions about regulatory and

statutory interplay under the FLSA (cf 29 U.S.C. § 203(m) with 29 C.F.R. § 531.59(b)),

complicated conditional certification briefing, and a determined and well-defended employer in

Boyd Gaming. This case required all the skill that Plaintiff’s counsel brought to bear. And, as

discussed below, Plaintiff’s counsel’s experience and capacity for complex wage and hour

litigation is significant. Ricke Decl. at ¶¶ 25-30; Stueve Siegel Hanson Firm Resume, Ex. 3.




14
  See, e.g., Adams v. Aztar Indiana Gaming Co., LLC, -- F.Supp.3d--, 2022 WL 593911, at *5
(S.D. Ind. Feb. 25, 2022) (block quoting the “omission” section of this Court’s conditional
certification order in this case and finding “[t]here is a sound basis to permit the plaintiffs to
proceed collectively in the claim that there was a casino-wide failure to comply with the tip credit
requirements.”).


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                 iv.     The sheer volume of time required by this case precluded other
                         employment for Plaintiff’s counsel.

          Plaintiff’s counsel committed nearly 3,000 hours to this case over approximately three

years. This commitment prohibited Plaintiff’s counsel from taking on other work. Ricke Decl. at

¶ 42. This factor weighs in favor of approving the fee. Enegren, 2019 WL 5102177, at *10 (D.

Kan. Oct. 11, 2019) (finding the 498 hours spent litigating a wage and hour collective action

demonstrated the lawsuit “precluded plaintiffs’ counsel from working on other matters”).

                 v.      The customary fee in statutory fee-shifting cases is the lodestar fee.

          “The Fair Labor Standards Act provides a right to attorneys’ fees for prevailing plaintiffs.”

Garcia v. Tyson Foods, Inc., 770 F.3d 1300, 1308 (10th Cir. 2014). Particular to each case based

on its unique circumstances, what constitutes an appropriate fee hinges on the effort expended, the

reasonable rate, and importantly, the results obtained. Accordingly, the Tenth Circuit has explained

that achieving excellent results for a client generally entitles counsel to their lodestar fee. See id.

at 1311 (“If the Plaintiffs’ obtained ‘excellent results,’ they should fully recover their fees”) (citing

Hensley v. Eckerhart, 461 U.S. 424, 436 (1983)). Here, the excellent settlement Plaintiff's counsel

achieved for their clients renders award of the full lodestar fee15 appropriate. See id. (affirming

lodestar fee awarded by district court, explaining “[t]he district court concluded that Plaintiffs’

counsel obtained excellent results for their clients”).

          Even so, Plaintiff’s counsel seeks less than the customary, full lodestar fee. In an effort to

compromise consistent with Supreme Court guidance on this issue, Plaintiff’s counsel and Boyd

Gaming’s separate fee negotiations resulted in the parties agreeing to a fee of $1,100,000; a figure

that represents a negative multiplier on Plaintiff’s counsel’s lodestar. Given the appropriateness of

a full lodestar award, Plaintiff’s request for a materially reduced fee weighs in favor of approval.


15
     Calculated by multiplying the hours reasonably expended by the reasonable hourly rate.


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               vi.     The contingent nature of the fee weighs in favor of approving the fee.

       Plaintiff’s counsel took this case on a contingency, a decision that comes with inherent

risks. The most obvious risk is that Plaintiff’s counsel could recover nothing, should Boyd

Gaming’s defenses be accepted by the Court or jury. Another and more relevant risk to this case

is that Plaintiff’s counsel, even if able to achieve an excellent result for the client, may nonetheless

fail to collect a premium on their lodestar fees. The risks attendant to a contingency fee, including

the risks partially realized by Plaintiff’s counsel in this case, support awarding Plaintiff’s requested

fee here. See Ricke Decl. at ¶¶ 31-42; In re Syngenta AG MIR 162 Corn Litig., 357 F. Supp. 3d

1094, 1115 (approving fee, describing the 1.4 lodestar multiplier as “extremely modest in light of

the great risk undertaken in pursuing these claims on a contingent-fee basis”).

               vii.    The time limitations involved in this case weigh in favor of approving
                       the fee.

       Not all Johnson factors are created equally. While the “time limitations” factor is less

weighty than, for example, the results achieved and time and labor required, important time

limitations did exist in this case, and they weigh in favor of approval. The limitations period for

each FLSA collective member runs until the filing of a consent to join. 29 U.S.C. § 216(b) (“No

employee shall be a party plaintiff to any such action unless he gives his consent in writing to

become such a party and such consent is filed in the court in which such action is brought”). Boyd

Gaming’s remediation of the tip credit notice issue in mid-2019 thus required Plaintiff’s counsel

to achieve conditional certification as quickly as possible mid-pandemic while balancing the need

to develop a sufficient discovery record to support certification. Resolved to achieve a favorable

outcome, Plaintiff’s counsel dedicated their experience, time, and resources to diligently manage

this case to a favorable conditional certification outcome with sufficient time to allow more than

800 workers to opt-in and ultimately recover, on average, $1,300 in the face of an ever-waning



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limitations period. This factor weighs in favor of approving the agreed fee. In re Syngenta, 357

F.Supp.3d at 1112 (finding time limitations weighed in favor of approving fee where plaintiff’s

counsel faced time constraints to move case forward).

               viii.   The excellent recovery weighs in favor of approving the fee.

       The Supreme Court regards the degree of success obtained as the “the most critical factor”

in the fee award analysis. Hensley, 461 U.S. at 436. In this case, Plaintiff’s counsel obtained an

excellent result for the collective members. The average per capita settlement check is over $1,300,

a considerable amount for minimum wage and tipped workers. Enegren, 2019 WL 5102177, at

*11 (finding this factor supported the requested fee where minimum wage and part time workers

recovered on average $1,500). That this settlement is an excellent result is perhaps best illustrated

by the percentage of unpaid minimum wages and tips it recovers: 88% of claimed tip credit

damages or, put another way, 76% of tip credit damages and best-day misallocated tips damages.

This represents an excellent recovery by any measure, even without consideration to the risk of

summary judgment, decertification, and loss at trial that collective members would otherwise face.

Ricke Decl. at ¶ 23. Other tip credit notice settlements around the country, to which this settlement

compares favorably, including in the casino context, confirm the excellent result achieved here.

See FN 9. Further, not only has no collective member objected to the settlement, but no collective

member has objected to the fee. In short, the excellent results achieved support the fee’s approval.

               ix.     Plaintiff’s counsel have significant experience, skill, and reputation in
                       wage and hour class and collective actions.

       Plaintiff’s counsel have considerable experience, skill, and reputation in specifically

prosecuting wage and hour class and collective actions against casino operators. In his order

awarding a full lodestar fee. Judge Marten described Stueve Siegel Hanson’s “experience in wage-

hour class actions” as having “unmatched depth.” Garcia, 2012 WL 5985561, at *4. Likewise,



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Judge Leeson of the Eastern District of Pennsylvania recently described Plaintiff’s counsel as

“uniquely skilled and efficient in prosecuting casino wage and hour cases.” Bartakovits, 2022 WL

702300, at *3. Indeed, the case’s four primary timekeepers (George Hanson, Todd McGuire, Alex

Ricke, and Ryan McClelland) have collectively litigated more than 20 casino wage and hour cases,

and are regarded as accomplished wage and hour lawyers with considerable experience, skill, and

reputation. Ricke Decl. at ¶¶ 25-30; Stueve Siegel Hanson Firm Resume, Ex. 3.

               x.      The fee is reasonable compared to awards in similar cases.16

       This factor relates to the “customary fee factor” above. Nearly ten years ago in a wage and

hour class and collective action, Judge Marten awarded Stueve Siegel Hanson (and the Tenth

Circuit affirmed) a full lodestar fee (deducting 0.8 hours as non-compensable) at the firm’s then-

standard hourly rates (including Mr. Hanson’s $600/hour rate) resulting in a blended rate of $302

per hour. Garcia, 2012 WL 5985561, at *2–9. Here, the proposed blended rate is $367 per hour;

an approximate 21% increase over the rates approved by Judge Marten nearly ten years ago and

then affirmed by the Tenth Circuit. From an inflation perspective, the $367 blended hourly rate

Plaintiff’s counsel is recovering in this case is actually marginally less than what they were paid



16
   Plaintiff’s counsel does not address in great depth the “nature and length of the professional
relationship with the client” factor. As this Court has noted, “[t]he meaning of this factor ... and its
effect on the calculation of a reasonable fee has always been unclear, and courts applying the
Johnson factors typically state that this particular standard is irrelevant or immaterial.” Enegren,
2019 WL 5102177, at *11 (quoting Barbosa, 2015 WL 4920292, at *12). Even so, this factor
weighs in favor of approving the requested fee. Plaintiff’s counsel have represented minimum
wage and tipped casino workers since 2016, have prosecuted more than 20 casino wage and hour
collective actions, and have recovered tens of millions of dollars for these minimum wage casino
workers. This demonstrated commitment to these workers across the country for many years
supports the agreed fee. Ricke Decl. at ¶¶ 25-30. Similarly, this Court has previously noted that
the “undesirability of the case” factor can often be subsumed into the “contingent nature of the
fee” factor making it neutral in the analysis. Enegren, 2019 WL 5102177, at *11. That said, given
the contested nature of the issues in this case, the novel questions of liability under the FLSA, and
Boyd Gaming’s remediation of the tip credit notice claim, Plaintiff’s counsel suggests this case
would be undesirable to all but the most capable wage and hour lawyers.


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in Garcia. The $367 rate represents inflation of approximately 2.1% per year since Garcia;

modestly less than the nearly 22% cumulative inflation that has occurred over the last ten years

and is much lower than the 7% and 4.3% inflation rates for 2021 and 2022, respectively.17

        Likewise, the proposed rate is significantly lower than the standard hourly rates of the four

primary timekeepers in this case. For example, Mr. Hanson and Mr. Ricke’s hourly rates have been

routinely approved as reasonable on lodestar fee analyses and lodestar cross-checks in the Kansas

City area and throughout the country. Ricke Decl. at ¶¶ 38-42.

IV.     The Court Should Award Plaintiff’s Counsel’s Reasonable Litigation Expenses.

        Separate from Plaintiff’s counsel’s reasonable fee, Plaintiff’s counsel incurred litigation

expenses of $85,187.46. Ricke Decl. at ¶ 46. These expenses, described more fully in Mr. Ricke’s

Declaration, include the cost of distributing collective notice to opt-ins, the cost of mediation, the

cost of depositions and transcripts, and the cost of legal research. Each of these expenses is of the

kind and character Plaintiff’s counsel typically bills to clients and that are not absorbed into

overhead. Id. at ¶¶ 43-46.

        Though Plaintiff’s counsel’s expenses are $85,187.46, Plaintiff’s counsel is limiting the

request to reimbursement to the $85,000 set out in the Settlement agreement. These expenses,

which are not reimbursed from the fee award, benefitted all collective members and should be paid

from the collective fund. See, e.g., Boeing Co. v. Van Gemert, 444 U.S. 472, 482 (1980) (affirming

payment of class counsel’s fees, costs, and expenses from common settlement fund, citing “each

class member’s equitable obligation to share the expenses of litigation”); Enegren, 2019 WL

5102177, at *12 (awarding expenses out of common fund in addition to awarding 40% of common


17
   Kimberly Amadeo, U.S. Inflation Rate by Year: 1929–2023, The Balance (updated March 28,
2022 ) https://www.thebalance.com/u-s-inflation-rate-history-by-year-and-forecast-3306093 (last
visited on May 4, 2022). This compilation of inflation rates was cited with approval by this Court
in the context of rate inflation in Ross, 325 F.Supp.3d at 1182.


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fund as fees). Plaintiff’s counsel’s expenses should be approved as fair and reasonable and be

reimbursed from the common fund.

V.     The Court Should Approve the Service Award to Plaintiff James for His Considerable
       Efforts on Behalf of the 800+ Collective Members.

       The proposed service award for Plaintiff James of $5,000 to be paid from the collective

fund is reasonable. Ex. 1, Settlement Agreement at ¶ IV.B.5. Any amount not approved as a service

award remains in the collective fund. Id. The $5,000 service award, which represents less than half

of 1% of the common fund, is fair and reasonable and should be approved.

       “Service payments are a common feature of collective action settlements.” Kyem v.

Merakey U.S., 2022 WL 425584, at *5 (E.D. Pa. Feb. 11, 2022). Such awards “perform[] the

legitimate function of encouraging individuals to undertake the frequently onerous responsibility

of [serving as the] named class representative.” Nieberding v. Barrette Outdoor Living, Inc., 129

F.Supp.3d 1236, 1251 (D. Kan. 2015) (quoting Hershey v. ExxonMobil Oil Corp., 2012 WL

5306260, at *12 (D. Kan. Oct. 26, 2012)). With these principles in mind, the Court must examine

a proposed service award payment to determine whether it is fair and reasonable. See id.

       Courts within the District of Kansas determine the reasonableness of a requested service

award by “considering whether the proposed award adequately reflects the time that the recipient

plaintiff spent working on the lawsuit.” Hoffman v. Poulsen Pizza LLC, 2016 WL 2848919, at *4

(D. Kan. May 16, 2016). This Court has previously found incentive fees reasonable when set

between $20-40 per hour. Enegren, 2019 WL 5102177 at *7-9 (approving $5,000 service award

for 131 hours, representing $38 per hour).18 This Court has likewise found incentive awards


18
   Koehler v. Freightquote.com, Inc., 2016 WL 3743098 at *3 (D. Kan. July 13, 2016) (approving
two $10,000 and two $5,000 service awards for 100 hours, on average, that each plaintiff devoted
to the case, representing an average of $75 per hour). See also In re Sprint Corp. ERISA Litig., 443
F. Supp. 2d 1249, 1271 (D. Kan. 2006) (awarding $5,000 service awards where plaintiffs spent 80



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appropriate in common fund cases where the award represents one percent or less of the common

fund. See, e.g., Nieberding, 129 F.Supp.3d at 1251 (citing Freebird, Inc. v. Cimarex Energy Co.,

46 Kan. App. 2d 631, 646 (2011)).

       Plaintiff James actively participated and assisted Plaintiff’s counsel in all phases of this

litigation. Plaintiff James devoted approximately three years and 126 hours to the prosecution of

this case. See James Decl. at ¶ 3. This includes working with Plaintiff’s counsel during the initial

case investigation phase and the preparation of the original Complaint. Id. at ¶ 4. He also assisted

with initial Rule 26 disclosures, written responses to interrogatories and requests for production of

documents, and the collection and production of his own documents. Id. at ¶ 5. He routinely

fielded questions from co-workers and potential opt-in plaintiffs about the nature of the claims and

the status of the litigation. Id. at ¶ 6. He travelled from Wichita, Kansas to Kansas City, Missouri

for two days to prepare for and appear at his individual deposition, and assisted Plaintiff’s counsel

in preparing for the corporate representative deposition of Boyd Gaming. Id. at ¶ 5. With respect

to case resolution, Plaintiff James made himself available by phone during three separate

mediation and negotiation sessions which ultimately resulted in a settlement in principle to resolve

the dispute. Id. at ¶ 6. Plaintiff James routinely communicated with counsel during the settlement

process. Id.

       It bears noting that Plaintiff James also took a “reputational risk” by attaching his name to

litigation against his current employer, and had concerns that his involvement in this litigation

could create difficulty securing employment with future employers (especially in the casino

industry). Id. at ¶ 7. Because this lawsuit is publicly filed and garnered media attention, information




hours of time, on average, in furtherance of the lawsuit); Bruner v. Sprint/United Mgmt. Co., 2009
WL 2058762, at *11 (D. Kan. July 14, 2009 (awarding a $5,000 service award).


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about his participation in the lawsuit is easily accessible.19 Future employers may be less likely to

hire him if they learn the role he played in this lawsuit. And most importantly, this settlement

would not have occurred had Plaintiff James not stepped forward to protect the rights of other

minimum wage workers, and assist Plaintiff’s counsel every step of the way. Plaintiff James

refused to engage in pre-certification settlement discussions on his personal claims only and was

unwilling to abandon the rights of his fellow workers. Id. at ¶ 8. He shouldered the entire burden

in this case as the only representative plaintiff. Due in part to Plaintiff James’ efforts and

persistence in bringing this case, collective members now get the benefit of a favorable settlement

providing them with the majority of their claimed unpaid wages.

       The proposed service award of $5,000, if approved, would compensate Plaintiff James at

a rate of $39.68 per hour for the time devoted to this case, within the hourly range approved by

this Court. The requested service award is also within the range of recoveries by collective

members in this case, each of whom will receive an individual settlement payment between $50

and $6,254.97, based on a formula accounting for their hourly base wage and number of hours

worked during the relevant time periods. Finally, the requested service award amounts to only

0.42% (less than half of 1%) of the $1,200,000 settlement fund in this case—also within range of

those approved by the Court. See Enegren, 2019 WL 5102177, at *7-9 (approving $5,000 service

award equating to 1.6% of the $300,000 settlement fund). The $5,000 service award should be

approved as fair and reasonable.




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   For example, conducting a simple Google search using the terms “Roger James” and either
“Boyd,” “Kansas Star” or “casino” will yield multiple links to court filings or news articles related
to the instant litigation.



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                                         CONCLUSION

       Plaintiff respectfully requests the Court grant the motion and approve all aspects of the

settlement as a fair and reasonable resolution of a bona fide dispute under the FLSA. Plaintiff

further requests the Court (1) grant final collective certification; (2) approve the settlement

payments to collective members; (3) appoint Analytics Consulting LLC as settlement

administrator and approve their fees to be paid from the settlement fund as reasonable; (4) approve

the $5,000 service award to Plaintiff James to be paid from the settlement fund as reasonable; (5)

approve the separately negotiated award of $1,100,000 attorneys’ fees to Plaintiff’s counsel; and

(6) approve Plaintiff’s counsel’s advanced litigation expenses of $85,000 to be paid from the

settlement fund as reasonable. Plaintiff’s counsel will submit the parties’ agreed proposed approval

order to the Court’s Chambers via email.




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Dated: May 5, 2022                          Respectfully submitted,

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                                            ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

        I hereby certify that on May 5, 2022, a true and correct copy of the foregoing document
was filed electronically through the Court’s CM/ECF system, and therefore, will be transmitted to
all counsel of record by operation of the Court’s CM/ECF system.

                                            By:     /s/ Alexander T. Ricke

                                                    ATTORNEY FOR PLAINTIFF




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